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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 VOTE FORWARD, et al.,


                   Plaintiffs,

        v.                                         Civil Docket No. 20-cv-2405 (EGS)

 DEJOY, et al.,


                   Defendants.



 DEFENDANTS’ STATUS UPDATE REGARDING THE PRINCETON POST OFFICE

       Pursuant to this Court’s November 1, 2020 Minute Order, Defendants respectfully provide

the following update regarding the Princeton Post Office:

       Postal Managers have completed searching all 180,000 pieces of delayed mail and no

additional ballots were located Monday. The 62 ballots that were discovered over the past

weekend were all immediately delivered to the BOE or the customers addressed, or returned to

sender when delivery was not possible. No delayed ballots were on-hand in the Princeton Post

Office this morning, and none are on-hand now.



Dated: November 3, 2020             Respectfully submitted,

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                                    Acting Assistant Attorney General

                                    ERIC R. WOMACK
                                    Assistant Director, Federal Programs Branch

                                    /s/ John Robinson
                                    JOSEPH E. BORSON
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